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Exhibit H
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Int. CL: 39
Prior U.S. Cl.: 105

United States Patent and Trademark Office

Reg. No. 1,718,838

Registered Sep. 22, 1992

SERVICE MARK
PRINCIPAL REGISTER

NORTHWEST AIRLINES

NORTHWEST AIRLINES, INC. (MINNESOTA
CORPORATION)

2700 LONE OAK PARKWAY

EAGEN, MN 5512t

FOR: AIR TRANSPORTATION SERVICES, IN
CLASS 39 (U.S. CL. 105).

FIRST USE = 10-I-1926;
10-1-1926.

IN COMMERCE

NO CLAIM IS MADE TO THE EXCLUSIVE
RIGHT TO USE “AIRLINES”, APART FROM
THE MARK AS SHOWN.

SER. NO. 74-235,025, FILED 1-2-1992.

CHRISIE B. KING, EXAMINING ATTORNEY
